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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

SAIM SARWAR, Individually,               :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :               Case No.
                                         :
HILLTOP INN SUITES LLC, A Domestic       :
Limited Liability Company D/B/A HILLTOP :
INN & SUITES,                            :
                                         :
             Defendant.                  :
_______________________________________/ :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, SAIM SARWAR, Individually, on his behalf and on behalf of all other individuals

similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, HILLTOP INN

SUITES LLC, A Domestic Limited Liability Company, (sometimes referred to as “Defendant”)

doing business as HILLTOP INN & SUITES located at 373 Norwich-Westerly Rd., North

Stonington CT 06359, for Injunctive Relief, and attorney’s fees, litigation expenses, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Brooklyn, New York, is sui juris, and qualifies as an

               individual with disabilities as defined by the ADA. Plaintiff is unable to engage in

               the major life activity of walking more than a few steps without assistive devices.

               Plaintiff ambulates in a wheelchair or with a cane or other support and has limited

               use of his hands. He is unable to tightly grasp, pinch and twist of the wrist to operate.

               When ambulating beyond the comfort of his own home, Plaintiff often uses a

               wheelchair or other assistive device. Plaintiff requires accessible handicap parking
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         spaces located closet to the entrances of a facility. The handicap and access aisles

         must be of sufficient width so that he can embark and disembark from a ramp into

         a vehicle. Routes connecting the handicap spaces and all features, goods and services

         of a facility must be level, properly sloped, sufficiently wide and without cracks,

         holes or other hazards that can pose a danger of tipping, catching wheels or falling.

         These areas must be free of obstructions or unsecured carpeting that make passage

         either more difficult or impossible. Amenities must be sufficiently lowered so that

         Plaintiff can reach them. He has difficulty operating door knobs, sink faucets, or

         other operating mechanisms that tight grasping, twisting of the wrist or pinching. He

         is hesitant to use sinks that have unwrapped pipes, as such pose a danger of scraping

         or burning his legs. Sinks must be at the proper height so that he can put his legs

         underneath to wash his hands. He requires grab bars both behind and beside a

         commode so that he can safely transfer and he has difficulty reaching the flush

         control if it is on the wrong side. He has difficulty getting through doorways if they

         lack the proper clearance. He requires roll-in showers with compliant grab bars to

         bathe. All amenities must be within easy reacy.

2.       Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

         "tester" for the purpose of asserting his civil rights and monitoring, ensuring, and

         determining whether places of public accommodation and their websites are in

         compliance with the ADA.

3.       According to the county property records, Defendant owns a place of public

         accommodation as defined by the ADA and the regulations implementing the ADA,


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         28 CFR 36.201(a) and 36.104. The place of public accommodation that the

         Defendant owns is a place of lodging known as HILLTOP INN & SUITES LLC, and

         is located at 373 Norwich-Westerly Rd., North Stonington CT 06359, in the County

         of New London, (hereinafter "Property").

4.       Venue is properly located in this District because the Subject Property is located in

         this district.

5.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

         original jurisdiction over actions which arise from the Defendant’s violations of Title

         III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

         U.S.C. § 2201 and § 2202.

6.       As the owner of the subject place of lodging, Defendant is required to comply with

         the ADA. As such, Defendant is required to ensure that it's place of lodging is in

         compliance with the standards applicable to places of public accommodation, as set

         forth in the regulations promulgated by the Department Of Justice. Said regulations

         are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

         Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

         by reference into the ADA. These regulations impose requirements pertaining to

         places of public accommodation, including places of lodging, to ensure that they are

         accessible to disabled individuals.

7.       42 U.S.C. Section 12182(a) provides: “No individual shall be discriminated against

         on the basis of disability in the full and equal enjoyment of the goods, services,

         facilities, privileges, advantages, or accommodations of any place of public


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          accommodation by any person who owns, leases (or leases to), or operates a place of

          public accommodation.”

8.        More specifically, 28 C.F.R. Section 36.302(e)(1) (the “Regulation”), promulgated

          by the Department of Justice pursuant to 42 U.S.C. Section 12182(b)(2)(A)(ii),

          imposes the following requirement:

          Reservations made by places of lodging. A public accommodation that owns,
          leases (or leases to), or operates a place of lodging shall, with respect to
          reservations made by any means, including by telephone, in-person, or through a
          third party -
                  (i) Modify its policies, practices, or procedures to ensure that individuals
                  with disabilities can make reservations for accessible guest rooms during
                  the same hours and in the same manner as individuals who do not need
                  accessible rooms;
                  (ii) Identify and describe accessible features in the hotels and guest rooms
                  offered through its reservations service in enough detail to reasonably
                  permit individuals with disabilities to assess independently whether a
                  given hotel or guest room meets his or her accessibility needs;
                  (iii) Ensure that accessible guest rooms are held for use by individuals
                  with disabilities until all other guest rooms of that type have been rented
                  and the accessible room requested is the only remaining room of that type;
                  (iv) Reserve, upon request, accessible guest rooms or specific types of
                  guest rooms and ensure that the guest rooms requested are blocked and
                  removed from all reservations systems; and
                  (v) Guarantee that the specific accessible guest room reserved through its
                  reservations service is held for the reserving customer, regardless of
                  whether a specific room is held in response to reservations made by others.

9.        These regulations became effective March 15, 2012.

10.       Defendant, either itself or by and through a third party, accepts reservations for its

          hotel online through one or more websites. (Hereinafter “ORS” or “websites”.)

          The purpose of these websites is so that Defendant can market nationally and

          reach out and provide services to distant residents and so that members of the

          public may reserve guest accommodations and review information pertaining to


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          the goods, services, features, facilities, benefits, advantages, and accommodations

          of the Property. As such, these websites are subject to the requirements of 28

          C.F.R. Section 36.302(e).

11.       Prior to the filing of this action, Plaintiff had plans to travel throughout New

          York, Vermont, Maine, Massachusetts, Connecticut, Rhode Island, New Jersey,

          Eastern Pennsylvania, Maryland and the District of Columbia during the end of

          August-beginning of September 2022. This includes the area of Defendant's

          hotel.

12.       Prior to the commencement of this lawsuit, Plaintiff visited the Defendant's ORS

          for the purpose of reviewing and assessing the accessible features at the Property

          and ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e)

          and his accessibility needs. Plaintiff also reviewed the ORS to compare the hotel

          to others in the area and ascertain whether he can stay at the hotel during his

          upcoming trip. However, Plaintiff was unable to do so because Defendant failed

          to comply with the requirements set forth in 28 C.F.R. Section 36.302(e) and

          because Defendant failed to provide the third party ORS providers with the

          information they require to comply with the Regulation. As a result, Plaintiff was

          deprived the same services, features, benefits, advantages, and accommodations of

          the Property available to the general public. Specifically;

          A. The website located at: www.expedia.com did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for booking

          of accessible rooms and provided insufficient information as to whether the rooms


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    or features at the hotel are accessible. Hotel amenities, room types and amenities

    are all listed in detail. No information was given about accessibility in the hotel

    other than the statements ‘In-room accessibility (select rooms)’, ‘Wheelchair

    accessible (may have limitations)’;

    B. The website located at: www.hotels.com did not comply with the Regulation

    because it did not identify accessible rooms, did not allow for booking of

    accessible rooms and provided insufficient information as to whether the rooms or

    features at the hotel are accessible. Hotel amenities, room types and amenities are

    all listed in detail. No information was given about accessibility in the hotel other

    than the statement "In-room accessibility";

    C. The website located at: www.booking.com not comply with the Regulation

    because it did not identify accessible rooms, did not allow for booking of

    accessible rooms and provided insufficient information as to whether the rooms or

    features at the hotel are accessible. Hotel amenities, room types and amenities are

    all listed in detail. No information was given about accessibility in the hotel other

    than the statement "Facilities for disabled guests";

    D. The website located at: www.orbitz.com did not comply with the Regulation

    because it did not identify accessible rooms, did not allow for booking of

    accessible rooms and provided insufficient information as to whether the rooms or

    features at the hotel are accessible. Hotel amenities, room types and amenities are

    all listed in detail. No information was given about accessibility in the hotel other

    than the statements "In-room accessibility (select rooms)", "Wheelchair accessible


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          (may have limitations)";

          E. The website located at: www.priceline.com did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for booking

          of accessible rooms and provided insufficient information as to whether the rooms

          or features at the hotel are accessible. Hotel amenities, room types and amenities

          are all listed in detail. No information was given about accessibility in the hotel

          other than the statement "Facilities for disabled guests available"; and,

          F. The website located at: www.agoda.com did not comply with the Regulation

          because it did not identify accessible rooms, did not allow for booking of

          accessible rooms and provided insufficient information as to whether the rooms or

          features at the hotel are accessible. Hotel amenities, room types and amenities are

          all listed in detail. No information was given about accessibility in the hotel other

          than the statement "Facilities for disabled guests available".

13.       In the near future, Plaintiff intends to revisit Defendant's online reservations

          system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this

          respect, Plaintiff maintains a system to ensure that he revisits the online

          reservations system of every hotel against which he brings a civil rights action. By

          this system, Plaintiff maintains a list of all hotels he has sued with several

          columns following each. he continually updates this list by, among other things,

          entering the dates he did visit and plans to again visit the hotel's online

          reservations system. With respect to each hotel, he visits the online reservations

          system multiple times prior to the complaint being filed, then visits again shortly


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          after the complaint is filed. Once a judgment is obtained or settlement agreement

          reached, he records the date by which the hotel's online reservations system must

          be compliant and revisits when that date arrives. He will also review the ORS

          shortly prior to making his upcoming trip.

14.       Plaintiff is continuously aware that the subject websites remain non-compliant and

          that it would be a futile gesture to revisit the websites as long as those violations

          exist unless he is willing to suffer additional discrimination.

15.       The violations present at Defendant's websites infringe Plaintiff's right to travel

          free of discrimination and deprive him of the information required to make

          meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

          frustration and humiliation as the result of the discriminatory conditions present at

          Defendant's website. By continuing to operate the websites with discriminatory

          conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

          and deprives Plaintiff the full and equal enjoyment of the services, facilities,

          advantages, privileges and/or accommodations available to the general public. By

          encountering the discriminatory conditions at Defendant's website, and knowing

          that it would be a futile gesture to return to the websites unless he is willing to

          endure additional discrimination, Plaintiff is deprived of the same advantages,

          privileges, goods, services and benefits readily available to the general public. By

          maintaining a websites with violations, Defendant deprives Plaintiff the equality

          of opportunity offered to the general public. Defendant's online reservations

          system serves as a gateway to its hotel. Because this online reservations system


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          discriminates against Plaintiff, it is thereby more difficult to book a room at the

          hotel or make an informed decision as to whether the facilities at the hotel are

          accessible.

16.       Plaintiff has suffered and will continue to suffer direct and indirect injury as a

          result of the Defendant’s discrimination until the Defendant is compelled to

          modify its websites to comply with the requirements of the ADA and to

          continually monitor and ensure that the subject websites remain in compliance.

17.       Plaintiff has a realistic, credible, existing and continuing threat of discrimination

          from the Defendant’s non-compliance with the ADA with respect to these

          websites. Plaintiff has reasonable grounds to believe that he will continue to be

          subjected to discrimination in violation of the ADA by the Defendant.

18.       The Defendant has discriminated against the Plaintiff by denying him access to,

          and full and equal enjoyment of, the goods, services, facilities, privileges,

          advantages and/or accommodations of the subject website.

19.       The Plaintiff and all others similarly situated will continue to suffer such

          discrimination, injury and damage without the immediate relief provided by the

          ADA as requested herein.

20.       Defendant has discriminated against the Plaintiff by denying him access to full

          and equal enjoyment of the services, facilities, privileges, advantages and/or

          accommodations of its place of public accommodation or commercial facility in

          violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

          Defendant continues to discriminate against the Plaintiff, and all those similarly


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             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all services,

             facilities, privileges, advantages or accommodations to individuals with

             disabilities.

21.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 C.F.R. § 36.505.

22.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make them readily accessible and useable to the Plaintiff and

             all other persons with disabilities as defined by the ADA and 28 C.F.R. §

             36.302(e); or by closing the websites until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its websitesto

             comply with 28 C.F.R. § 36.302(e) and to implement a policy to monitor and

             maintain the websitesto ensure that it remains in compliance with said requirement.




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c.   An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

     § 12205.

d.   Such other relief as the Court deems just and proper, and/or is allowable under

     Title III of the Americans with Disabilities Act.

                                   Respectfully Submitted,

                                   For the Plaintiff, SAIM SARWAR,

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